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                                 U.S. District Court
                                District of Columbia


UNITED STATES


v.                                      1:21-cr-00175-TJK
NORDEAN et al


             PEZZOLA’S PROPOSED FIRST AMENDMENT INSTRUCTION


       COMES NOW Dominic Pezzola, with this proposed 1st amendment instruction.
Counsel has circulated versions of this proposal to all lawyers in the case for review
and comment. This proposed instruction is based on numerous Supreme Court
rulings, including Brandenburg, Clairborne Hardware, RAV, Black, etc.


Proposed Instruction No. __
First Amendment Rights
       Every person has the right to petition his or her government, and express
ideas and bring their concerns to their legislators. Citizens also have the right to
peaceably assemble with others to petition their government. And under the
First Amendment, a person has a constitutional right to make violent or anti-
government statements and threats and may call upon others to act violently,
except in rare circumstances where the speaker knows such violent threats have
an immediate likelihood of getting others to immediately carry out such
violence and reasonably knows that others have the ability and are likely to
carry out such threats.
      These First Amendment rights apply to every count in the indictment. If
you find that the defendant’s conduct was First Amendment protected speech,
expression, or advocacy, you must find the defendant not guilty.
       The United States Capitol is one of America’s largest public buildings. It is
the headquarters of the Legislative Branch of government, where the American
people have broad rights to petition, advocate, protest, and meet with members
of Congress and staff in order to promote or prevent the advancement of
legislation or other congressional acts.
      RESPECTFULLY SUBMITTED
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/s/ Roger Roots, esq.
Cocounsel for Pezzola

CERTIFICATE OF SERVICE

I hereby certify and attest that on April 5, 2023, I caused this document to be

uploaded into this Court’s electronic filing system, thereby serving it upon all

parties of record.

/s/ Roger Roots
